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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

                                                      )
     Ansly DAMUS, et al.,                             )
                                Plaintiffs,           )
                                                      )
                          v.                          ) Civil Action No. 1:18-cv-00578
                                                      )
     Kirstjen NIELSEN, Secretary, U.S.                )
     Department of Homeland Security, in her          )
     official capacity, et al.,                       )
                                Defendants.           )
                                                      )


                               JOINT STATUS REPORT

        Pursuant to this Court’s Order and Opinion dated October 22, 2018 (ECF Nos.

51-52), the parties submit this joint status report regarding the status of discovery and

proposed next steps in the litigation.

        In its Order and Opinion, the Court granted Plaintiffs specified discovery related

to Defendants’ compliance with the preliminary injunction order in this case. (See ECF

No. 33.) The Court (1) ordered Defendants to produce a random sample of parole-

determination documentation from the period since the preliminary injunction issued and

(2) allowed five depositions—i.e., the deposition of an official from each of the five U.S.

Immigration and Customs Enforcement (“ICE”) Field Offices—regarding ICE’s activity

since the injunction issued, and any necessary context from the preceding period. ECF

No. 52 at 7-8.

I.      Status of Discovery

        The parties agreed that Defendants would produce the following parole-

determination documents for a random sample of provisional class members: (1) parole
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determination worksheets; (2) parole denial letters; (3) and case summaries where they

exist. The parties have agreed to a random sample of 125—or approximately 12%—of

total cases from the five ICE Field Offices. The parties also agreed to a procedure for

substituting “reserve” cases where a class member’s A-File is not immediately accessible

to Defendants. Defendants produced the sample of parole-determination documents to

Plaintiffs on November 20 and 21, 2018, which Plaintiffs are in the process of reviewing

for completeness.

        The parties have agreed to the following depositions on the following dates in

Washington, DC:

   •    December 4, 2018: Diane Witte, El Paso Acting Field Office Director

   •    December 6, 2018: Gabriel Valdez, Los Angeles Assistant Field Office Director

   •    December 11, 2018: Joseph Dunn, Philadelphia Assistant Field Office Director

   •    December 12, 2018: Mark Hamilton, Detroit Assistant Field Office Director

   •    December 14, 2018: Ruben Perez, Newark Assistant Field Office Director

        Defendants have agreed that their witnesses will be prepared to address all the

issues contemplated by the Court’s October 22, 2018 Opinion and Order (ECF Nos. 51-

52). Those issues include, but are not necessarily limited to:

   •    Whether the ICE Field Office is complying with the substantive and procedural

        requirements of the ICE Parole Directive and the preliminary injunction order of

        July 2, 2018 (ECF No. 33);

   •    Any changes to the ICE Field Office’s parole practices since the Court’s

        preliminary injunction order, including any actions undertaken by the ICE Field




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           Office to comply with the preliminary injunction order, and whatever context

           from the proceeding period is necessary to understand those changes;

      •    Why the parole grant rate for the ICE Field Office has remained low since the

           preliminary injunction order.1

See ECF No. 52 at 7-8. Should any of the witnesses offered by Defendants be unable to

fully address the issues contemplated by the Court’s October 22, 2018 Opinion and

Order, Plaintiffs reserve the right to seek to depose other witnesses who are able to do so.

Defendants do not waive any arguments against additional depositions.

II.        Proposed Next Steps in the Litigation

           The parties propose that they submit a joint status report on December 21, 2018—

or one week after the final scheduled deposition—proposing the next steps in the

litigation. The parties also request a status conference on or after January 3, 2019, to

discuss those next steps.




1
 Defendants do not concede that compliance with the Parole Directive can be established by the rate at
which a Field Office grants or denies parole.

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                                         Respectfully submitted,

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                             CERTIFICATE OF SERVICE

         I certify that, on November 26, 2018, I electronically transmitted the attached
joint status report using the CM/ECF system for filing and transmittal of a Notice of
Electronic Filing to all CM/ECF registrants for this case.


Date: November 26, 2018                       Signed:     /s/ Philip J. Levitz
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